                       IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF ALASKA


    ANNE PATRICIA MULLIGAN,
                          Plaintiff,
       vs.
                                                   Case No. 3:19-cv-00114-RRB
    AWAIC SHELTER, et al.,

                          Defendants.


                                ORDER OF DISMISSAL

         Anne Patricia Mulligan, representing herself, has filed a Civil Rights

Complaint under 42 U.S.C. § 1983 and an Application to Waive the Filing Fee. 1

Ms. Mulligan has also filed a Motion to “File/Open a New Case,” summarizing the

claims she sets forth in her Complaint. 2 This motion is unnecessary.

         The claim in this case is identical to the claim in Anne Patricia Mulligan v.

AWAIC Shelter, et al., 3:19-cv-00113-RRB. The earlier case has been dismissed.

This identical case must, therefore, be dismissed as well.

                                       Screening Requirements

         Federal law requires a court to conduct an initial screening of a complaint

brought by a self-represented plaintiff who has not paid the filing fee. In this




1   Dockets 1, 3, 5.
2   Docket 4.




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screening, a court shall dismiss the case at any time if the court determines that

the action

             (i) is frivolous or malicious;

             (ii) fails to state a claim on which relief may be granted; or

            (iii) seeks monetary relief against a defendant who is immune
         from such relief. 3

         To determine whether a complaint states a valid claim for relief, a court

considers if it contains sufficient factual matter that if accepted as true “state[s] a

claim to relief that is plausible on its face.” 4 In conducting its review, the court is

mindful that it must liberally construe a self-represented plaintiff’s pleading and

give the plaintiff the benefit of any doubt. 5 Before a court may dismiss any portion

of a complaint for failure to state a claim upon which relief may be granted, the

court must provide the plaintiff with a statement of the deficiencies in the complaint

and an opportunity to amend or otherwise address the problems, unless to do so

would be futile. 6 For the reasons explained in the Order of Dismissal in 3:19-cv-

00113-RRB, amendment would be futile.




3   28 U.S.C. § 1915(e)(2)(B).
4   Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citation omitted).
5   See Hebbe v. Pliler, 627 F.3d 338, 342 (9th Cir. 2010) (citation omitted).
6   Garmon v. County of Los Angeles, 828 F.3d 837, 842 (9th Cir. 2016).

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       IT IS THEREFORE ORDERED:

1.     This case is DISMISSED for failure to state a claim for relief under 28 U.S.C.

       § 1915(e)(2)(B)(ii).

2.     All outstanding motions are DENIED.

3.     The Clerk of Court is directed to enter a judgment accordingly.

       DATED at Anchorage, Alaska, this 17th day of June, 2019.

                                               /s/ Ralph R. Beistline
                                               RALPH R. BEISTLINE
                                               Senior United States District Judge




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